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                                                                  November 2, 2020
By ECF
Hon. Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

                 Re:    United States v. Mustapha Raji
                        19 Cr. 870 (JMF)

Dear Judge Furman:

        I am the attorney for Mustapha Raji, the defendant in the above-referenced matter. Mr.
Raji is currently on pretrial release pursuant to a $100,000 personal recognizance bond co-signed
by two financially responsible persons and one moral suasion co-signer, and secured by $10,000
in collateral. He is currently residing at his home in Hollywood, Florida, and his conditions of
release include, among other things, home incarceration and travel restricted to the Southern and
Eastern Districts of New York, and the Southern and Middle Districts of Florida. This letter is
respectfully submitted with the consent of Pretrial Services of the Southern District of Florida,
and without objection from the government, by AUSA Dina McCleod, to request a bond
modification that would permit Mr. Raji to leave his home for the purpose of prescribed medical
treatment.

       As the Court is aware, Mr. Raji has been receiving medical treatment for his heart
condition, among other issues. As part of his treatment, his doctor prescribed that he go for a
walk for thirty minutes per day, 3-5x a week (see Exhibit A). Mr. Raji therefore seeks a bond
modification that would permit him to leave his home for this purpose. My office has conferred
with Mr. Raji’s Pretrial Services Officer in the Southern District of Florida, Jason Jacoby, who
requested that Mr. Raji create a set schedule for his walks. He consents to the following
schedule, so long as the Court approves:

        Monday:         7:00 a.m. (15 minutes); and 3:00 p.m. (15 minutes)
        Wednesday:      7:00 a.m. (15 minutes); and 3:00 p.m. (15 minutes)
        Friday:         7:00 a.m. (15 minutes); and 3:00 p.m. (15 minutes)
        Saturday:       3:00 p.m. (30 minutes)
        Sunday:         3:00 p.m. (30 minutes)
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